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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   BNSF RAILWAY COMPANY,

        Plaintiff,

   v.                                              No. 4:22-cv-0052-P

   INTERNATIONAL ASSOCIATION OF SHEET
   METAL, AIR, RAIL AND TRANSPORTATION
   WORKERS – TRANSPORTATION DIVISION
   ET AL.,

        Defendants.

                                 ORDER
      The Court’s role is not to decide whether Plaintiff BNSF Railway
   Company’s (“BNSF”) new High Visibility (“Hi Viz”) attendance standard
   is bad policy. Rather, the Court’s role is to determine whether the
   current labor dispute is either a “major” or “minor” dispute under the
   Railway Labor Act (“RLA”).

      BNSF argues that the dispute is minor. Defendants International
   Association of Sheet Metal, Air, Rail and Transportation Workers –
   Transportation Division (“SMART-TD”) and Brotherhood of Locomotive
   Engineers and Trainmen (“BLET”) (collectively, the “Unions”) argue
   that it is major.

        And based on their respective positions, the Parties are adamant
   about what happens next. BNSF insists that because the RLA has no
   status quo requirement for minor disputes, BNSF can, and will,
   implement the Hi Viz attendance standard on February 1, 2022. The
   Unions, however, insist that because the RLA grants them the right to
   engage in self-help during a major dispute, the Unions can, and will,
   exercise their right to strike on the day the policy is implemented.

     Due to the Unions’ continued representation that a strike is
   imminent, BNSF filed a Motion for a Temporary Restraining Order
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   (“Motion”). ECF No. 6. And at the hearing on the Motion, the Parties
   further cemented their respective positions.

      At this stage in the proceedings, the Court is not deciding whether
   this dispute is either major or minor as a matter of law. Instead, the
   Court is merely deciding whether “there is a substantial likelihood that
   the movant will prevail on the merits.” Daniels Health Sci., LLC v.
   Vascular Health Scis., LLC, 710 F.3d 579, 582 (5th Cir. 2013).

      Based on the Parties’ past practice, BNSF has established a
   substantial likelihood of success on the merits that implementing the Hi
   Viz attendance standard is “arguably justified by the terms of the
   parties collective bargaining agreement” such that the dispute is minor.
   Consol. Rail Corp. v. Ry. Lab. Execs.’ Ass’n, 491 U.S. 299, 307 (1989).
   Further, “[w]hen an illegal strike occurs over a minor dispute, the
   employees or the union have violated not only § 152 First but also § 153
   First (i).” Burlington N. & Santa Fe Ry. Co. v. Bhd. of Maint. of Way
   Emps., 143 F. Supp. 2d 672, 677–78 (N.D. Tex. 2001) (McBryde, J.)
   (quoting Burlington N. R.R. Co. v. Bhd. of Maint. of Way Emps., 961
   F.2d 86, 89 (5th Cir. 1992)). The Court therefore concludes that BNSF
   has established a substantial likelihood that any resort to self-help by
   the Unions would violate the RLA.

       And without a temporary restraining order barring an “illegal strike
   over a minor dispute,” BNSF would suffer substantial, immediate, and
   irreparable harm. The Unions, however, will not suffer any harm as a
   result of a temporary restraining order that this Court, or an arbitrator,
   cannot remedy. The balance of harms therefore weighs in favor of
   injunctive relief. The record further establishes that a strike would
   exacerbate our current supply-chain crisis—harming the public at large,
   not just BNSF. A temporary restraining order will thus serve, rather
   than disserve, the public interest. Accordingly, the Court concludes that
   granting a temporary restraining order is appropriate. 1


      1In  this Court’s experience, prologued fights in federal court between unions and
   management only delay the inevitable negotiations between the parties. Frequently,
   such fights benefit no one, and the American consumer is left to bear the cost. As

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     The Court therefore GRANTS BNSF Railway Company’s Motion for
   Temporary Restraining Order (ECF No. 6).

      Accordingly, the Court ORDERS that, for the duration of this
   Temporary Restraining Order, SMART-TD and BLET—as well as their
   divisions, lodges, locals, officers, agents, employees, members, and all
   persons acting in concert or participation with any of them—are
   TEMPORARILY RESTRAINED and ENJOINED from authorizing,
   encouraging, permitting, calling, or otherwise engaging in any strikes,
   work stoppages, picketing, slowdowns, sickouts, or other self-help
   against BNSF or its operating rail subsidiaries over any dispute relating
   to the Hi Viz attendance standards.
      The Court furthers ORDERS that SMART-TD and BLET, and their
   national and local officers, shall immediately undertake all reasonable
   efforts to prevent and discourage their respective divisions, lodges,
   locals, officers, agents, employees, members, and all person acting in
   concert with any of them, from engaging in conduct enjoined by this
   Order, including but not limited to the following specific efforts:

      (a) Immediately instruct in writing all SMART-TD and BLET
          members employed by Plaintiff to refrain from self-help
          against the Plaintiff railroad, and provide Plaintiff with a copy
          of all such instructions;
      (b) Notify all SMART-TD and BLET members employed by
          Plaintiff by the most expeditious means possible of the
          issuance, contents, and meaning of this Order, and provide
          Plaintiff with a copy of all such notices;


   President Harry Truman observed, “I am sure [management] would like to break the
   unions and the unions would like to break them so they will probably fight a while and
   then settle so both will lose and in the long run only the man in the street will pay the
   bill.” Letter from Harry S. Truman to Martha Ellen Truman and Mary Jane Truman
   (Jan. 23, 1946), in OFF THE RECORD, THE PRIVATE PAPERS OF HARRY S. TRUMAN 83
   (Robert H. Ferrell ed., 1980). Throughout the remainder of these proceedings, the
   Parties are encouraged to remember the admonition of President John F. Kennedy:
   “Let us never negotiate out of fear but let us never fear to negotiate.” John F. Kennedy,
   in GREAT QUOTES FROM GREAT LEADERS 87 (Peggy Anderson comp., 1990); see also
   Lyndon Baines Johnson, in JOHN BARTLETT, FAMILIAR QUOTATIONS 872 (15th ed.,
   1980) (“Come now, let us reason together.”) (quoting Isaiah 1:18 (ESV)).

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     (c) Include in such notice a directive from SMART-TD and BLET
         to those members who are or may in the future engage in any
         conduct enjoined by this Order to immediately cease and
         desist all such activity and to immediately cease and desist all
         exhortations or communications encouraging same upon pain
         of fine, suspension, or other sanction by SMART-TD and
         BLET; and
     (d) Include copies of this Order in all SMART-TD and BLET
         publications, post it on all SMART-TD and BLET bulletin
         boards at Plaintiff’s facilities, and transmit the contents of the
         ordering paragraphs on any recorded telephone hotlines, web
         sites, or other methods of electronic communication used by
         SMART-TD and BLET to communicate with their represented
         employees.
      This Temporary Restraining Order is issued on the condition that a
   bond in the sum of $150,000 be filed by BNSF Railway Company on or
   before January 31, 2022. Further, this Temporary Restraining Order
   will expire on February 8, 2022, unless otherwise ordered by the
   Court. The Court will issue a separate scheduling order.

      SO ORDERED on this 25th day of January, 2022.




                  Mark T. Pittman
                  UNITED STATES DISTRICT JUDGE




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